                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE

 UNITED STATES OF AMERICA,                         )
                                                   )
               Plaintiff,                          )
                                                   )
 v.                                                )      No.:   3:13-CR-145-TAV-HBG-2
                                                   )
 EDDIE TAYLOR,                                     )
                                                   )
               Defendant.                          )


                       MEMORANDUM OPINION AND ORDER

        This criminal case is before the Court on the defendant’s pro se letter regarding

 pending state criminal charges against him [Doc. 95]. The defendant states that the

 Court’s intention in imposing his federal sentence in this case was that “if anything came

 up with my pending charges in Knox County it would get run concurrent.”                 The

 defendant informs the Court that, along with the state charges that were pending at the

 time of his sentencing hearing, “[t]he state is also trying to charge me with unlawful

 possession of a weapon.” The defendant asked the Court to contact the state District

 Attorney or judge to inquire whether the new charges can be dismissed, and to run

 defendant’s federal charges concurrent to any state charges.

        The Court interpreted the defendant’s letter as a motion to dismiss state criminal

 charges, or in the alternative, to correct the judgment [Doc. 74] to reflect that his federal

 sentence was ordered to run concurrently to any state sentence that is based upon relevant

 conduct to his federal conviction. See Fed. R. Crim. P. 36.




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       The Court denied the defendant’s request to dismiss pending state criminal

 charges, and directed the government to file a response to the defendant’s motion

 regarding having his federal sentence run concurrently to his pending state charges [Doc.

 98]. The United States responded [Doc. 99], in which it stated that there is no need to

 amend the judgment further, as the federal sentence is being run concurrently to any

 imprisonment imposed by the state in the General Sessions Court for Knox County,

 Tennessee case numbers 1056705 and 1056706.

       The defendant’s former counsel replied [Doc. 105], stating that the case numbers

 1056705 and 1056706 were dismissed against the defendant, and new charges have been

 filed in the Criminal Court for Knox County, Tennessee for conspiracy to possess and

 distribute heroin. The defendant’s counsel submits that the charges in Criminal Court for

 Knox County, Tennessee case number 102860 are related to the federal charges in this

 case to which the defendant pled guilty and was sentenced, much like the charges in case

 numbers 1056705 and 1056706. Thus, defendant’s counsel submits that the defendant’s

 judgment should be amended so as to have his federal sentence run concurrently with any

 sentence imposed in that case, as the Court had previously done for case numbers

 1056705 and 1056706.

       Thereafter, the Court directed the United States to file a supplemental response

 [Doc. 120]. In its supplemental response, the government stated that it “has no objection

 to the proposal of defendant’s former appointed counsel, . . . as that would be consistent

 with the position of the United States as set forth during the defendant’s sentencing and

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 which resulted in the original judgment reflecting a concurrent sentence with the pending

 state charges” [Doc. 125].

        Pursuant to Federal Rule of Civil Procedure 36, “the court may at any time correct

 a clerical error in a judgment, order, or other part of the record, or correct an error in the

 record arising from oversight or omission.” Fed. R. Crim. P. 36. The Sixth Circuit has

 recognized that “a clerical error must not be one of judgment or even of misidentification,

 but merely of recitation, of the sort that a clerk or amanuensis might commit, mechanical

 in nature.” United States v. Robinson, 368 F.3d 653, 656 (6th Cir. 2004) (citations

 omitted) (also noting that “Rule 36 has been consistently interpreted as dealing only with

 clerical errors, not with mistakes or omissions by the court”). Like the Second and

 Seventh Circuits, the Sixth Circuit has noted that Rule 36 “is not a vehicle for the

 vindication of the court’s unexpressed sentencing expectations, or for the correction of

 errors made by the court itself.” Id. at 656–57 (citations omitted).

        The Court finds that, despite the government’s position, the Court cannot amend

 the defendant’s judgment so as to have his federal charges run concurrently to the

 pending state charges in Criminal Court for Knox County, Tennessee case number

 102860. Amending the judgment so as to have the defendant’s federal charges run

 concurrently with charges in a case that was not pending at the time of the defendant’s

 sentencing, unlike the charges in General Sessions Court for Knox County, Tennessee

 case numbers 1056705 and 1056706, would not qualify as the sort of clerical error

 amendment authorized by the Sixth Circuit under Rule 36. Rather, such an amendment is

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 more in tune with a misidentification that the Sixth Circuit has expressly stated is not

 authorized by Rule 36.

       Even if it had been the Court’s intention to have the federal sentence run

 concurrently with pending state charges against the defendant for related conduct—which

 the Court does not admit—the Judgment [Doc. 74] only orders the federal sentence in

 this case to run concurrently with those charges in General Sessions Court for Knox

 County, Tennessee case numbers 1056705 and 1056706, and Third Circuit Court,

 Detroit, Michigan, docket number 05-3878-01. As the Sixth Circuit forbids courts from

 utilizing Rule 36 as a means for vindicating the court’s “unexpressed sentencing

 expectations,” the Court could not amend the judgment in this case so as to reflect the

 Court’s intention at sentencing. Robinson, 368 F.3d at 656–57.

       Accordingly, the defendant’s motion [Doc. 95] is DENIED.

       IT IS SO ORDERED.



                                  s/ Thomas A. Varlan
                                  CHIEF UNITED STATES DISTRICT JUDGE




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